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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                                         CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that copies of the following were served via CM/ECF Notification and/or
U.S. Mail to all parties on the attached service list on the 21 st day of November, 2024:

      1. Debtors’ Amendment to Expedited Application to Employ Moecker Auctions, Inc. as
         Auctioneer, Motion for Sale of Property [ECF No. 72]

      2. Notice of Hearing [ECF No. 74]

     Dated November 21, 2024.
                                                      Respectfully submitted:

                                                      DGIM Law, PLLC
                                                      Proposed Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Daniel Y. Gielchinsky, Esq.
                                                      Florida Bar No. 97646
                                                      Email: dan@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc. The
address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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                                        SERVICE LIST


Via U.S. Mail to all parties on the attached Mailing List
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At&T
PO Box 6463,
Carol Stream, IL, 60197-6463

First Impulse
18 Goodyear, Suite 125,
Irvine, CA, 92618

Intacct Dept 3237,
PO Box 123237,
Dallas, TX, 75312-3237

IPFS Corporation
3522 Thomasville Rd, Suite 400,
Tallahassee, FL, 32309

Oppenheim Insurance Broker Inc.
23742 Lyons Ave,
PO Box 220957,
Newhall, CA, 91322

LexisNexis
28544 Network Place,
Chicago, IL, 60673-1285

Discount Edgar
125 Wolf Road, Suite 315,
Albany, NY, 12205

Mark , Your Extended Office
No. 128 SRP Koil Street South,
Jawahar Nagar, Chennai, 600 082, India

Pitney Bowes
PO Box 371874,
Pittsburgh, PA, 15250-7874

Slavic 401K
1075 Broken Sound Pkwy NW, Suite 100,
Boca Raton, FL, 33487-3540

MetLife Group Benefits
PO Box 804466,
Kansas City, MO, 64180-4466

CT Corporation
PO Box 4349,
Carol Stream, IL, 60197-4349
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HUB International Insurance Services Inc
16030 Venture Blvd, Suite 500,
Encino, CA, 91436

PrismHR
PO BOX 844768,
Boston, MA, 02284-4768

Kenneth Weaver
901 Riverside Drive,
Old Hickory, TN, 37138

NOW CFO NEWPORT BEACH
5251 S Green Street, Suite 350,
Murray, UT, 84123

Nasdaq Corporate Solutions, LLC
PO Box 780700,
Philadelphia, PA, 19178-0700

Staff Benefits Management, Inc
2307 FENTON PARKWAY #107-126,
San Diego, CA, 92108

Restaurant Finance Monitor
2808 Anthony Lane South,
Minneapolis, MN, 55418

Whitney White
100 Albert Way, Apt 1417,
Princeton, NJ, 08540

ICR LLC
761 Main Ave,
Norwalk, CT, 06851

AmWINS Specialty Casualty Solutions
10 S LaSalle St, Suite 1500,
Chicago, IL, 60603

Gallagher Bassett Services, Inc
15763 Collections Center Drive,
Chicago, IL, 60693

Marcum & Kliegman LLP
750 Third Ave 11th FL,
New York, 10017
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Slavic Integrated Administration
1075 NW Brkn Snd Pkway, Ste 100,
Boca Raton, FL, 33487-3540

Broadridge ICS
PO BOX 416423,
BOSTON, MA, 02241-6423

Mediant Communications Inc.
PO BOX 29976,
NEW YORK, NY, 10087-9976

Gordon Rees Scully Mansukhani, LLP
275 Battery Street, 20th Fl,
San Francisco, CA, 94111

SUNZ INSURANCE
1301 6th Ave W,
Bradenton, FL 34205

ELITE BUSINESS VENTURES
PO BOX 6510,
PASADENA, CA, 91109

Fisher Phillps LLP
2050 Main St, Suite 1000,
Irvine, CA, 92614

SullivanCurtisMonroe Ins Serv LLC
1920 Main St, Suite 600,
Irvine, CA, 92614

Innovative Coverage Concepts LLC
c/o Arthur J Gallagher & Co,
200 Jefferson Park, Ste 110 - 200,
Whippany, NJ, 07981

KPA SERVICES LLC
PO Box 83301,
Woburn, MA, 01813-3301

OSBORN MALEDON
2929 N CENTRAL AVE, 21 FLOOR,
PHOENIX, AZ, 85012
               Case 24-21209-LMI      Doc 75   Filed 11/21/24   Page 6 of 22



Cloudflare, Inc
Mail Code: 5267,
PO Box 660367,
Dallas, TX, 75266-0367

TEKWORKS
13000 Gregg Street,
Poway, CA, 92618-7411

KARLINSKY LLC
103 Mountain Road,
Cornwall-On-Hudson, NY, 12520

BairesDev LLC
c/o Tyler R. Dowdall, Esq.,
Tarter Krinsky & Drogin, LLP,
1925 Century Park East, Suite 400N,
Los Angeles, California 90067

NATPAY
3415 W Cypress St,
Tampa, FL 33607

CUSIP GLOBAL SERVICES
55 WATERS ST,
NEW YORK, NY, 10041

SearchGeeks
701 Palomar Airport Rd. #170,
Carlsbad CA 92011

CDW DIRECT
200 N. MILWAUKEE AVE,
VERNON HILLS, IL, 60061

Richard DeBeikes
23241 Ventura Blvd Ste 224C,
Woodland Hills, CA, 91364

MINTZ
Chrysler Center,
666 Third Avenue,
New York, NY, 10017

ADP/MASTER TAX
MasterTax, LLC
111 W. Rio Salado Parkway,
Tempe, AZ 85257
               Case 24-21209-LMI            Doc 75   Filed 11/21/24   Page 7 of 22




Christopher A Sebes
5730 Claridon Drive,
Naples, FL, 34113

BREX CC
Brex Payments LLC
650 S 500 W., Suite 300,
Salt Lake City, UT 84101

GITLAB INC
PO BOX 8244,
PASADENA, CA, 91109-8244

eFax Corporate C/O J2 Cloud Services LLC,
PO BOX 51873,
LOS ANGELES, CA, 90051-6173

Media Network Consultants LLC
13245 Lower Harden Ave,
Orlando, FL, 32827

Toppan Merrill LLC
PO BOX 74007295,
CHICAGO, IL, 60674

TENNESSE DEPT OF REVENUE
500 DEADERICK ST, ANDREW JACKSON ST OFFICE BLD,
NASHVILLE, TN, 37242

ARTHUR J GALLAGHER RK MGMT SRV
PO BOX 532143,
ATLANTA, GA, 30353

INTRADO DIGITAL MEDIA, LLC
C/O INTRADO CORPORATION,
PO BOX 74007143,
CHICAGO, IL, 60674-7143

ANKURA
201 E WASHINGTON ST, SUITE 1700,
PHOENIX, AZ, 85004

PETTIT KOHN
11622 EL CAMINO REAL, SUITE 300,
SAN DIEGO, CA, 92130
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DGA SECURITY
429 WST 53RD STREET,
NEW YORK, NY, 10019

TMF SERVICES HONDURAS
Colonia Lomas del Guijarro Sur,
Domicilio Alquilado, Contiguoa Plaza Ficohsa, Casa #5,
5to Nivel. Tegucigalpa M.D.C. Honduras

LANIER PARKING
647 BRICKELL KEY DR, SUITE 1,
MIAMI, FL, 33131

RUNWAY 1 LLC
250 Greenpoint Ave,
Brooklyn, NY, 11222

EQUISOLVE
3500 SW Corporate Pkwy,
Palm City, FL 34990

ELITE AUDIO VIDEO OF SO FL
12241 SW 185TH ST,
MIAMI, FL, 33177

MILNER INC
PO BOX 105743,
ATANTA, GA, 30348-5743

Sports1ternship, LLC
23 Rancho Circle,
Lake Forest, CA, 92630

LEAPROS WORKFORCE SOLUTIONS
PO BOX 432,
HUNTINGTON BEACH, CA, 92648

Roxborough Pomerance NYE & Adreani
5820 Canoga Ave, Suite 250,
Woodland Hills, CA, 91367

FLORIDA POWER AND LIGHT
21400 Powerline Road
Boca Raton, FL 33433

LOEB & LOEB LLP
345 PARK AVE,
NEW YORK, NY, 10154
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TRUSAIC
3530 WILSIRE BLVD, SUITE 1460,
LOS ANGELES, CA, 90010

BAKER TILLY US, LLP
PO Box 511563,
Los Angeles, CA, 90051-8118

Specialty Marketing Consulting Inc
c/o Kimberly Peters,
PO Box 6700,
Pine Mountain Club, CA, 93222

WASTE MANAGEMENT INC FL
8801 NW 91ST STREET,
MEDLEY, FL, 33178

Plant Care
PO Box 50115,
Lighthouse Point, FL, 33074

RB INTERNATIONAL SUPPLY CORP
7265 NW 44TH ST,
MIAMI, FL, 33166

WHITE & CASE
SE FINANICAL CTR STE 4900,
200 S BISCAYNE BLVD,
MIAMI, FL, 33131-2352

MILNER - USAGE
PO BOX 923197,
NORCROSS, GA, 30010-3197

BEST OFFICE COFFEE SERVICES
13130 SW 130 TERRACE,
MIAMI, FL, 33186

US FOODS
PO BOX 281838,
BOCA RATON, FL, 30384-1838

AGP/ALLIANCE GLOBAL PARTNERS
590 MADISON AVE,
NEW YORK, NY, 10022
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Sperling & Slater PC
55 West Monroe Street, Suite 3200,
Chicago, IL, 60603

EL TORO LLC
552 E MARKET STREET,
LOUISVILLE, KY, 40202

VERIFONE INC
c/o Colliers Int'l Lease Admin,
301 University Ave, Ste 100,
Sacramento, CA, 95825

ENCORE
EVENT TECHNOL CEASARS PALACE,
8850 W SUNSET RD, 3RD FL,
LAS VEGAS, NV, 89148

MINERAL INC
6701 Koll Center Parkway, Suite 430,
PLEASANTON, CA, 94566

BUSINESS WIRE DEPT 34182
PO BOX 39000,
SAN FRANCISCO, CA, 94139

CINTAS
PO BOX 631025,
CINCINNATI, OH, 45263-1025

ALLIED SPORTS LLC
PO BOX 845785,
BOSTON, MA, 02284-5785

UNITED HEALTHCARE
PO BOX 111111,
NEW TOWN, MO, 93195-9782

AMWINS GROUP BENEFITS
PO BOX 71051,
CHARLOTTE, NC, 28272-1051

WORKIVA
2900 UNIVERSITY BLVD,
AMES, IA, 50010
              Case 24-21209-LMI          Doc 75   Filed 11/21/24   Page 11 of 22



JOBOT, LLC
18575 JAMBOREE RD, SUITE 600,
IRVINE, CA, 92612

HEISE SUAREZ MELVILLE, P.A.
2990 Ponce de Leon Blvd, Suite 300,
Coral Gables, FL, 33134

MILNER INC - BRICKELL
PO BOX 41602,
PHILADELPHIA, PA, 19101-1602

SICHENZIA ROSS FERENCE LLP
1185 AVE OF THE AMERICAS,
31ST FLOOR,
NEW YORK, NY, 10036

American Recruiting & Consulting Group
2200 N Commerce Pkwy, Suite 200,
Weston, FL, 33326

STERICYCLE
28883 NETWORK PLACE,
CHICAGO, IL, 60673-1288

ARRAY
624 S AUSTIN AVE,
SUITE 230,
GEORGETOWN, TX, 78626-5758

Professional Window Tinters
7385 Bird Rd (40th St),
Miami, FL, 33155

VIA Design Studio
103 Westward Drive,
Miami, FL, 33142

Lamb McErlane PC
24 E. Market St, PO Box 565,
West Chester, PA, 19381

VERITEXT, LLC
PO BOX 71303,
CHICAGO, IL, 60694-1303
              Case 24-21209-LMI        Doc 75   Filed 11/21/24   Page 12 of 22



Audio Video Cameras Serv Corp
AUDIO VIDEO CAMERA & SERVICES CORP.
3600 W PALM CT, HIALEAH, FL 33012

Berkowitz Pollack Brant Advisors CPA
PO Box 735244,
Dallas, TX, 75373-5244

Klein & Wilson
4770 Von Karman,
Newport Beach, CA, 92660

SolutionCore Inc
9742 Hibiscus Drive,
Garden Grove, CA, 92841

Huggins Actuarial Services Inc
111 Veterans Square, Third Floor,
Media, PA, 19063

Philadelphia Ins Co
PO BOX 70251,
PHILADELPHIA, PA, 19176-0251

GUMMICUBE, INC
50 E ST JOHN ST,
SAN JOSE, CA, 95112

Email Outreach Company
651 N Broad St, Suite 206,
Middletown, Delaware, 19709

OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105

Calabrese Consulting LLC
24 North King Street,
Malverne, NY, 11565

GUROCK
0801 N Mopac Expressway,
Building 1, Suite 100,
Austin, TX, 78759
               Case 24-21209-LMI          Doc 75   Filed 11/21/24   Page 13 of 22



FRANCHIMP LTD
Kristine M Rogalewski-Mayo
18531 N Steet,
Scottsdale, AZ, 85255

AppsFlyer
100 1 ST St, 25th FL,
San Francisco, CA, 94105

Morris, Nichols, Arsht & Tunnell LLP
1201 N Market St, 16th FL, PO Box 1347,
Wilmington, DE, 19899-1347

FL POWER HOUSE
2310 NW 102ND PLACE,
DORAL, FL, 33172

Call & Jensen
810 Newport Center Dr, Suite 700,
Newport Beach, CA, 92660

Launay Patrice, PEJ CONSULTING
1560 Sawgrass Corporate Pkwy,
4th FL Suite 423-C,
Sunrise, FL, 33323

Marquis Aurbach Chtd
10001 Park Run Drive,
Las Vegas, NV, 89145

CK Administrative Services LLC
777 S Figueroa Street, Suite 4100,
Los Angeles, CA, 90017

Enlyte
PO Box 88026,
Chicago, IL, 60680-102

Grasso Global Inc
Levinson Arshonsky Kurtz & Komsky LLP
15303 Ventura Blvd, Suite 1650,
Sherman Oaks, CA, 91403

4te Inc
PO Box 4048,
Mission Viejo, CA, 92690-4048
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Marlins Baseball
501 Marlins Way,
Miami, FL 33125

Payne & Fears LLP
4 Park Plaza, Suite 1100,
Irvine, CA, 92614

A & A Ornamental, Inc
18731 SW 87th Ave,
Cutler Bay, FL, 33157

Premier Produce
2672 SW 36th St,
Dania Beach, FL, 33312

Navarro Hernandez PL
66 W Flagler St 6th FL,
Miami, FL, 33130

Gentry Partnership Inc
11523 Palmbrush Trail, Suite 193,
Lakewood Ranch, FL, 34202

Okin Pest Control
2170 Piedmont Rd NE
Atlanta, GA, 30324-4135

MELTWATER NEWS US
Dept LA 23721,
Pasadena, CA, 91185-3721

Bright Labs Services LLC
485 Lexington Ave 10th FL,
New York, NY, 10017-2619

J David Tax Law LLC
7077 Bonneval Road, Suite 200,
Jacksonville, FL, 32216

New Benefits
Alexandra Gonzalez Zabala
Judith Simpson
1839 Festival Court,
Joliet, IL, 60435
               Case 24-21209-LMI    Doc 75   Filed 11/21/24   Page 15 of 22



Asurint File 2418,
1801 W Olympic Blvd,
Pasadena, CA, 9119-2418

Trenan Law
PO Box 1102,
Tampa, FL, 33601-1102

Empire Marketing Ventures LLC
383 Madison Ave,
New York, NY, 10017

Rose, Snyder & Jacobs LLP
15821 Ventura Blvd, Suite 490,
Encino, CA, 91436

Martin Scott
19180 Skyridge Circle,
Boca Raton, FL, 33498

Norman S Gerstein PA
5966 S. Dixie Highway, Suite 300,
Miami, FL, 33143

Doug Greene
6805 Ingalls Court,
Galena, OH, 43021

ipCapital Group Inc
426 Industrial Ave, Suite 150,
Willston, VT, 05495-4459

Meadows Collier Attorney At Law
901 Main Street, Suite 3700,
Dallas, TX, 75202

Arondight Advisors
120 Wall St,
New York, New York, 11209

Widgets & Web LLC
19500 194th Trl,
Golden Beach, FL, 33160

Lydecker LLP
1221 Brickell Ave, 19th FL,
Miami, FL, 33131
               Case 24-21209-LMI          Doc 75   Filed 11/21/24   Page 16 of 22



BTERREL GROUP
4324 Mapleshade Ln, Suite 103,
Plano, TX, 75093

nFusion Capital Finance LLC
6444 Burnet Rd Unit 100,
Austin, TX 78757

Lowenstein Sandler LLP
One Lowenstein Drive,
Roseland, New Jersey 07068

QB Animation Inc
320 Lighthouse Drive,
Palm Beach Gardens, FL, 33410

Traliant Operating LLC
PO Box 844090,
Boston, MA, 02284-4090, United States

Prequin Limited
1st Floor, Verde, 10 Bressenden Place,
London, United Kingdom,
SW1E 5DH, United Kingdom

Lemke Mediation
515 S Flower St, Suite 1800,
Los Angeles, CA, 90071

Miami-Dade Office of the Tax Collector
Tangible Personal Property
200 NW 2nd Avenue, Miami, FL 33128

Securities and Exchange Commission
100 F Street, NE,
Washington, DC 20549

NASDAQ
51 West 42nd Street, Floors 26, 27, 28,
New York, NY 10036

IRS - Department of the Treasury
Ogen, UT 84201

Arizona Department of Economic Security
PO Box 6028, Mail Drop 5881,
Phoenix, AZ 85005
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Arizona Department of Revenue
PO Box 29085,
Phoenix, AZ 85038

California Employment Development Department
PO Box 989061,
West Sacramento, CA 95798

California Employment Development Department
Treasury Offset Program
PO Box 997418 Sacramento, CA 95899

California Employment Development Department
3321 Power Inn Road,
Suite 140, #759
Sacramento, CA 95826

DC Office of Tax and Revenue- Compliance Administration
1101 4th Street SW,
Washington, DC 20024

Florida Department of Revenue
5050 West Tennessee Street,
Tallahassee, FL 32399

Florida Department of Revenue Miami Service Center
3750 NW 87th Avenue, Suite 300,
Doral, FL 33178

Idaho Department of Labor- Collection Enforcement Unit
317 W Main Street,
Boise, ID 83735

Idaho State Tax Commission
PO Box 36,
Boise, ID 83722

Idaho State Tax Commission
11321 W Chinden Blvd,
Boise ID 83714

IOWA Workforce Development Unemployment Insurance Tax Bureau
1000 E Grand Avenue,
Des Moines, IA 50319
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Illinois Department of Employment Security
Revenue Collection Enforcement Unit
33 S State Street, 10th Floor,
Chicago, IL 60603

Illinois Department of Revenue
PO Box 19006,
Springfield, IL 62794

Kansas Department of Revenue Division of Taxation
12 SE 10th Avenue,
Topeka KS 66625

Kansas Department of Revenue Division of Taxation
PO Box 3506, Avenue,
Topeka, KS 66625

Massachusetts Department of Revenue
100 Cambridge Street,
Boston, MA 02204

Michigan Department of Treasury
PO Box 30756,
Lansing, MI 48909

Minesota Deptment of Revenue
Collection Division
PO Box 64651,
Saint Paul, MN 55164

Missouri Department of Revenue
Taxation Division
PO Box 3375,
Jefferson City, MO 65105

New Jersey Department of Labor and Workforce Development
Division of Employer Accounts
PO Box 059,
Trenton, NJ 08646

New Jersey Department of Labor and Workforce Development
Delinquency Unit
PO Box 932,
Trenton, NJ 08625

New Jersey Department of the Treasury Division of Taxation
PO Box 1009,
Moorsetown, NJ 08057
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New Mexico Department of Workforce Solutions
PO Box 1928,
Albuquerque, NM 87103

New Mexico Taxation & Revenue
PO Box 25128,
Santa Fe, NM 87504

New York Employment Contributions and Taxes
PO Box 4119
Binghamton, NY 13902

New York Department of Labor- Unemployment Insurance
PO Box 4301
Brimingham, NY 13902

New York Department of Labor- Unemployment Insurance Div
PO Box 15012
Albany, NY 12212

New York Department of Labor- Unemployment Insurance Div
Enforcement Unit
PO Box 4305
Binghamton, NY 13902

New York Department of Taxation and Finance
Civil Enforecement Division - Offset Unit W A Harriman Campus,
Albany NY 12227

Oklahoma Tax Commission
Oklahoma City, OK 73194

Pennsylvania Department of Labor & Industry
Office of Unemployment Compensation Tax Services
651 Boas Street, Room 915,
Harrisburg, PA 17121

Michigan Department of Treasury
City Tax Administration
P.O. Box 30756
Lansing, MI 48909

Tennesse Department of Labor & Workforce Development
Employment Security Division,
Employer Accounts Audit
220 French Landing Drive,
Nashville, TN 37243
              Case 24-21209-LMI      Doc 75   Filed 11/21/24   Page 20 of 22




Virginia Department of Taxation
PO Box 1115.
Richmond, VA 23218-1115.

Virginia Department of Taxation
PO Box 1777,
Richmond, VA 23218

Securities and Exchange Commission
801 Brickell Avenue
Suite 1950
Miami, FL 33131

Securities and Exchange Commission
100 F. Street NE
Washington, DC 20549
              Case 24-21209-LMI     Doc 75   Filed 11/21/24   Page 21 of 22




A & A Ornamental, Inc
18731 SW 87th Ave
Cutler Bay, FL, 33157

ALLIED SPORTS LLC
PO BOX 845785
BOSTON, MA, 02284-5785

BEST OFFICE COFFEE SERVICES
13130 SW 130 TERRACE,
MIAMI, FL, 33186

CINTAS
PO BOX 631025
CINCINNATI, OH, 45263-1025

CK Administrative Services LLC
777 S Figueroa Street, Suite 4100
Los Angeles, CA, 90017

DGA SECURITY
429 WST 53RD STREET
NEW YORK, NY, 10019

FL POWER HOUSE
2310 NW 102ND PLACE
DORAL, FL, 33172

FLORIDA POWER AND LIGHT FPL
General Mail Facility
Miami, FL 33188-0001

MILNER – USAGE
PO BOX 923197
NORCROSS, GA, 30010-3197

MILNER INC – BRICKELL
PO BOX 41602
PHILADELPHIA, PA, 19101-1602

MILNER INC
PO BOX 105743
ATANTA, GA, 30348-5743

Okin Pest Control
2170 Piedmont Rd NE
Atlanta, GA, 30324-4135

Premier Produce
2672 SW 36th St
Dania Beach, FL, 33312
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Professional Window Tinters
7385 Bird Rd (40th St)
Miami, FL, 33155

RB INTERNATIONAL
SUPPLY CORP
7265 NW 44TH ST
MIAMI, FL, 33166

US FOODS
PO BOX 281838
BOCA RATON, FL, 30384-1838

VIA Design Studio
103 Westward Drive
Miami, FL, 33142

BREX GHOST KITCHEN
650 S 500 W Suite 300
Salt Lake City, UT 84101

Balanced Management, LLC
26 S. Rio Grande St. #2072
Salt Lake City Utah, 84101

Balanced Management, LLC
441 Lexington Ave
18th Floor
New York, NY 10017

Balanced Management, LLC
315 E 62 floor 3
New York, NY, 10065

Balanced Management, LLC
1682 Pintail Way
Sarasota, FL, 34231

Balanced Management, LLC
3017 Bolling Way NE
Atlanta, GA, 10065

Balanced Management
Registered Agents Inc.
7533 S. Center View CT Ste R
West Jordan, UT, 84084
